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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                     MONROE DIVISION


 CHRISTOPHER MORRIS                                   CASE NO. 3:20-CV-00387

 VERSUS                                               JUDGE TERRY A. DOUGHTY

 SAMMIE BYRD                                          MAG. JUDGE KAYLA D. MCCLUSKY


                                           JUDGMENT

         The Report and Recommendation of the Magistrate Judge having been considered, no

 objections thereto having been filed, and finding that same is supported by the law and the record

 in this matter,

         IT IS ORDERED, ADJUDGED, and DECREED that the instant suit is hereby

 DISMISSED, with prejudice. FED. R. CIV. P. 41(b).

         Monroe, Louisiana, this 8th day of June, 2021.




                                                                 Terry A. Doughty
                                                            United States District Judge
